       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 1 of 7. PageID #: 23



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

KEVIN N. BROWN,                                     )
                                                    )       CASE NO. 4:18-cv-00789
               Plaintiff,                           )
                                                    )
       vs.                                          )       JUDGE BENITA Y. PEARSON
                                                    )
JAMES C. EVANS, et al.,                             )
                                                    )
               Defendants.                          )


                DEFENDANT DEENA CALABRESE’S MOTION TO DISMISS


       Defendant Deena Calabrese (misspelled as Dena Calabrese in the Complaint), by and

through counsel, respectfully moves this Court pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure for an order dismissing Defendant Deena Calabrese as a Party Defendant. The

Complaint was not filed within the applicable statute of limitations, fails to state a claim upon which

relief can be granted, is barred by the Rooker-Feldman doctrine and Defendant Calabrese is entitled

to absolute prosecutorial immunity. A Memorandum in Support is attached.

                                             Respectfully submitted,

                                             MICHAEL C. O’MALLEY, Prosecuting
                                             Attorney of Cuyahoga County, Ohio

                                      By:    /s/ Kelli Kay Perk ______________
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                                                1
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 2 of 7. PageID #: 24



                                  MEMORANDUM IN SUPPORT

       Defendant Deena Calabrese submits the following Memorandum in Support of her

Motion to Dismiss Plaintiff’s Complaint against her.

                       I.      STATEMENT OF THE CASE AND FACTS

          Plaintiff Kevin N. Brown filed his Complaint against Defendants James C. Evans,

Dena R. Calabrese and Paul C. Conn on April 9, 2018. Dena Calabrese’s first name is actually

spelled “Deena.” Defendant Calabrese waived service of the summons. In his Complaint,

Plaintiff alleges violations of Title 42 U.S.C. §1985(2) and (3). Plaintiff alleges that on July 12,

2001, Defendants Evans and Conn conspired together to deny Plaintiff of certain remedies and

that Defendant Calabrese fraudulently represented the State of Ohio in a criminal action.

Plaintiff states that he is serving four consecutive life sentences and he has been adjudicated to

be a sexual predator. Plaintiff further alleges that the Defendants conspired together to imprison

him for life for crimes not committed or charged by law which he claims is a violation of the

U.S. Constitution and federal and state law.

                                 II.     LAW AND ARGUMENT

               A.      The Complaint was filed well outside any possible applicable Statute
                       of Limitations

       For purposes of this motion only, Defendant must accept Plaintiff’s assertions as true.

Plaintiff alleges that he was indicted in 2001. Plaintiff does not provide any additional dates in

his Complaint, but a review of the Mahoning County Common Pleas Court docket for the case

State v. Kevin N. Brown, case no. 2001 CR 00705, shows that Plaintiff was convicted and

adjudicated a sexual predator in 2003. It is now 2018. Even being generous, using a four year

statute of limitations, Plaintiff’s Complaint is over a decade late.




                                                  2
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 3 of 7. PageID #: 25



       We held that because there was no federal statute of limitations for a 42 U.S.C. §
       1985 action, the Court must apply the statute of limitations which the state court
       would utilize in an analogous state action. Carmicle v. Weddle, 555 F.2d 554 (6th
       Cir. 1977); Marlowe v. Fisher Body, 489 F.2d 1057 (6th Cir.1973). In Crawford
       v. Zeitler, 326 F.2d 119 (6th Cir.1964), the Sixth Circuit held that the four-year
       statute of limitations, § 2305.09, O.R.C., was applicable to injuries "not arising on
       contract." We held that such statute was applicable to plaintiff's 42 U.S.C. § 1985
       claim.

Hadsell v. Ford Motor Co., 566 F.Supp. 1254, 1255 (S.D.Ohio 1983) and Ohio Revised Code

Section 2305.09.

       It is actually more likely that only a one or two year statute of limitations would apply

under Ohio law. See Ohio Revised Code sections 2305.10 and 2305.11. Moreover, Plaintiff has

not alleged any facts that would serve to toll a statute of limitations.

               B.      Plaintiff fails to meet the Iqbal/Twombly Pleading Requirements.

       Plaintiff’s Amended Complaint does not set forth any specific factual allegations against

Defendant Calabrese. At no time does the Complaint allege what Defendant Calabrese did that

ostensibly gives rise to liability. The statute that Plaintiff cites is 42 U.S.C. §1985(2) and (3),

which is entitled Conspiracy to Interfere with Civil Rights. The statute states in part:

       (2) Obstructing justice; intimidating party, witness, or juror
       If two or more persons in any State or Territory conspire to deter, by force,
       intimidation, or threat, any party or witness in any court of the United States from
       attending such court, or from testifying to any matter pending therein, freely,
       fully, and truthfully, or to injure such party or witness in his person or property on
       account of his having so attended or testified, or to influence the verdict,
       presentment, or indictment of any grand or petit juror in any such court, or to
       injure such juror in his person or property on account of any verdict, presentment,
       or indictment lawfully assented to by him, or of his being or having been such
       juror; or if two or more persons conspire for the purpose of impeding, hindering,
       obstructing, or defeating, in any manner, the due course of justice in any State or
       Territory, with intent to deny to any citizen the equal protection of the laws, or to
       injure him or his property for lawfully enforcing, or attempting to enforce, the
       right of any person, or class of persons, to the equal protection of the laws;




                                                   3
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 4 of 7. PageID #: 26



       (3) Depriving persons of rights or privileges
       If two or more persons in any State or Territory conspire or go in disguise on the
       highway or on the premises of another, for the purpose of depriving, either
       directly or indirectly, any person or class of persons of the equal protection of the
       laws, or of equal privileges and immunities under the laws; or for the purpose of
       preventing or hindering the constituted authorities of any State or Territory from
       giving or securing to all persons within such State or Territory the equal
       protection of the laws; or if two or more persons conspire to prevent by force,
       intimidation, or threat, any citizen who is lawfully entitled to vote, from giving his
       support or advocacy in a legal manner, toward or in favor of the election of any
       lawfully qualified person as an elector for President or Vice President, or as a
       Member of Congress of the United States; or to injure any citizen in person or
       property on account of such support or advocacy; in any case of conspiracy set
       forth in this section, if one or more persons engaged therein do, or cause to be
       done, any act in furtherance of the object of such conspiracy, whereby another is
       injured in his person or property, or deprived of having and exercising any right
       or privilege of a citizen of the United States, the party so injured or deprived may
       have an action for the recovery of damages occasioned by such injury or
       deprivation, against any one or more of the conspirators.


       Plaintiff does not allege any facts to support that Defendant Calabrese did anything set

forth in the above statute. To survive a motion to dismiss, “a complaint must contain sufficient

factual matter… to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662 at 678 (2009). A claim is facially plausible if the “plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544 at 556 (2007).               Most

importantly, as in this case, “[t]hreadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.” Id. citing Twombly, 550 U.S. at 555.

       A reviewing court is “not bound to accept as true a legal conclusion couched as a factual

allegation.” Id. In reviewing the sufficiency of a complaint, the Court should consider only the

well-pleaded factual allegations and then determine whether they “plausibly give rise to an

entitlement of relief.” Id., at 679; see also Center for Bio- Ethical Reform, Inc., v. Napolitano,




                                                  4
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 5 of 7. PageID #: 27



648 F.3d 365, 372-74 (6th Cir. 2011) (disregarding “conclusory and bare allegations” as not

entitled to presumption of truth or any weight in determining plausibility).

        “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”

Iqbal, 556 U.S. at 679. Plausibility “asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id., at 678. To survive a motion to dismiss, the “well- pleaded factual

allegations” must demonstrate “more than the mere possibility of misconduct;” they must

“plausibly give rise to an entitlement to relief.” Id.

        Plaintiff’s Complaint fails to show a plausible entitlement to relief against Defendant

Calabrese. The Complaint is devoid of any factual content concerning Defendant Calabrese that

would demonstrate any plausible right of recovery against Defendant Calabrese

        The Complaint does not offer any operative facts to support the legal conclusion that

Defendant Calabrese is liable under 42. U.S.C § 1985 or any other provision of state or federal

law. Plaintiff merely states the threadbare conclusions that Defendant Calabrese fraudulently

represented the State of Ohio in a criminal action and that the defendants conspired together to

imprison him for life for crimes not committed or charged by law Plaintiff does not meet the

Iqbal/Twombly pleading requirements and Defendant Calabrese be dismissed as a Party

Defendant.

                C.      The Complaint is barred by the Rooker-Feldman Doctrine

        The Rooker-Feldman doctrine bars “cases brought by state-court losers complaining of

injuries caused by state-court judgments rendered before the district court proceedings

commenced and inviting district court review and rejection of those judgments.” See Rooker v.

Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of Appeals v. Feldman, 460

U.S. 462 (1983). This Court has further explained in determining whether Rooker-Feldman bars

a claim, courts must look to the “source of the injury that the plaintiff alleges in the federal
                                              5
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 6 of 7. PageID #: 28



complaint.” McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir. 2006). “If the source of the

plaintiff’s injury is the state court judgment itself, then the Rooker-Feldman doctrine bars the

federal claim.” Id.; Accord,   Evans v. Cordray, 424 Fed. Appx. 537 (6th Cir., 2009). Here,

Plaintiff’s dispute falls squarely in this prohibition.    Plaintiff is attacking his state court

conviction by alleging that the conviction was for “crimes not committed and charged by law.”

This is exactly what the Rooker-Feldman doctrine prohibits.

               D.     Defendant is Entitled to Absolute Prosecutorial Immunity

       Plaintiff’s Complaint alleges that Defendant Calabrese’s actions took place as she

represented the State of Ohio and that she “knowingly aided” in his receiving consecutive life

sentences and in his adjudication as a sexual predator. In other words, her actions were in her

role as a prosecutor. When determining whether to accord a prosecutor absolute immunity,

courts employ a functional analysis that “looks to the nature of the function performed, not to the

identity of the actor who performed it.” Buckley v. Fitzsimmons, 509 U.S. 259, 269 (1993),

quoting Forrester v. White, 484 U.S., 219, 229 (1988).

       Applying this functional approach, a prosecutor has absolute immunity from a suit

alleging civil rights violations if the prosecutor was functioning as advocate for the State and

engaged in activities that are intimately associated with the judicial phase of the criminal

process. See Imbler v. Pachtman, 424 U.S. 409 (1976). Using this standard, it is clear that

Defendant Calabrese is entitled to absolute prosecutorial immunity.




                                                6
       Case: 4:18-cv-00789-BYP Doc #: 8 Filed: 06/21/18 7 of 7. PageID #: 29



                                       III. CONCLUSION

       For the reasons stated above, Defendant Deena Calabrese respectfully requests that the

Court grant her Motion to Dismiss and dismiss Defendant Deena Calabrese as a party in this case

with prejudice.

       This Motion does not waive any defects in service that may be raised as a defense.

                                              Respectfully submitted,
                                              MICHAEL C. O’MALLEY, Prosecuting Attorney
                                              of Cuyahoga County, Ohio

                                    By:       __/s/ Kelli Kay Perk
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2018 the foregoing was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system. In addition, I served a copy of this Motion on

the following by ordinary U.S. Mail.

Kevin N. Brown #A443-261
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Marion, Ohio 43301-0057
                                              /s/ Kelli Kay Perk__________
                                              Assistant Prosecuting Attorney




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